                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION
                                         :
Amanda Pierner-Lytge,                    :
                                         :
                                           Civil Action No.: ______
                                                             2:15-cv-61
                      Plaintiff,         :
        v.                               :
                                         :
Seas and Associates, LLC; and DOES 1-10, :
                                           COMPLAINT AND
inclusive,                               :
                                           DEMAND FOR JURY TRIAL
                                         :
                      Defendants.        :
                                         :

        For this Complaint, the Plaintiff, Amanda Pierner-Lytge, by undersigned counsel, states

as follows:

                                         JURISDICTION


        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (“TCPA”) and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.




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                                            PARTIES

       4.      The Plaintiff, Amanda Pierner-Lytge (“Plaintiff”), is an adult individual residing

in West Allis, Wisconsin, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3),

and is a “person” as defined by 47 U.S.C. § 153(39).

       5.      Defendant Seas and Associates, LLC (“Seas”), is an Arkansas business entity

with an address of 8320 Highway 107, Sherwood, Arkansas 72120, operating as a collection

agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6), and is a

“person” as defined by 47 U.S.C. § 153(39).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Seas and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      Seas at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to Blast Fitness

(the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Seas for collection, or Seas

was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


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    B. Seas Engages in Harassment and Abusive Tactics

        12.     In or around October of 2014, Seas began calling Plaintiff in an attempt to collect

the Debt.

        13.     The calls were placed to Plaintiff’s cellular phone, number 414-xxx-8306.

        14.     The calls were placed from telephone number 866-277-2933.

        15.     When Plaintiff answered the phone, she was met with a period of silence followed

by a short ring at which point the call was transferred to a Seas operator.

        16.     The foregoing is indicative of a predictive dialer, an automated telephone dialing

system (ATDS) under the TCPA.

        17.     During a live conversation in November 2014, Plaintiff disputed the validity of

the Debt and demanded that the automated calls to her cease.

        18.     Nevertheless, the calls continued.

        19.     Moreover, Seas failed to inform Plaintiff of her rights in writing within five days

after the initial contact, including Plaintiff’s right to dispute the Debt.

                                              COUNT I

            VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                              15 U.S.C. § 1692, et seq.

        20.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        21.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

        22.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

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        23.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants failed

to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

        24.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        25.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                              COUNT II

        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                            47 U.S.C. § 227, et seq.

        26.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        27.     At all times mentioned herein and within the last four years, Defendants called

Plaintiff on her cellular telephone using an automatic telephone dialing system (“ATDS” or

“Predictive Dialer”).

        28.     In expanding on the prohibitions of the TCPA, the Federal Communications

Commission (FCC) defines a Predictive Dialer as “a dialing system that automatically dials

consumers’ telephone numbers in a manner that “predicts” the time when a consumer will

answer the phone and a [representative] will be available to take the call…”2003 TCPA Order,

18 FCC 36 Rcd 14022. The FCC explains that if a representative is not “free to take a call that

has been placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or

a dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on companies that

“abandon” calls by setting “the predictive dialers to ring for a very short period of time before

disconnecting the call; in such cases, the predictive dialer does not record the call as having been

abandoned.” Id.

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        29.     Defendants’ telephone systems have all the earmarks of a Predictive Dialer.

        30.     When Plaintiff answered the phone, she was met with a period of silence before

Defendants’ telephone system would connect her to the next available representative.

        31.     Defendants’ Predictive Dialers have the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

        32.     Plaintiff revoked her consent by her demand to cease calls to her cellular

telephone.

        33.     The calls from Defendants to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

        34.     Each of the aforementioned calls made by Defendant constitutes a violation of the

TCPA.

        35.     Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in negligent violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

        36.     As a result of each of Defendants’ knowing and/or willful violations of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 for each and

every violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                                     PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                   1. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                       against the Defendants;

                   2. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                       1692k(a)(3) against the Defendants;

                   3. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

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                 4. Such other and further relief as may be just and proper.

                     TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: January 19, 2015

                                            Respectfully submitted,

                                            By /s/ Amy L. Cueller

                                            Amy L. Cueller, Esq. #15052-49
                                            LEMBERG LAW, L.L.C.
                                            1100 Summer Street, 3rd Floor
                                            Stamford, CT 06905
                                            Telephone: (203) 653-2250
                                            Facsimile: (203) 653-3424
                                            E-Mail: acueller@lemberglaw.com
                                            Attorneys for Plaintiff




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